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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

UNITED STATES OF AMERICA,                           §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §                   1:18-cr-341(1)-RP
                                                    §
(1) HECTOR VASQUEZ-RAMIREZ,                         §
                                                    §
                Defendant.                          §

                                               ORDER

        Before the Court are Edmundo Espinoza’s (“Movant”) motions to withdraw as counsel for

Hector Vasquez-Ramirez, (Dkt. 698, 701); Movant’s supplement to his first motion to withdraw,

(Dkt. 699); and Movant’s motion for leave to file under seal, (Dkt. 703).

                                         I. BACKGROUND

        The Court first learned of Movant’s desire to withdraw during a court conference on June

23, 2020. (See Dkt. 697). The Court held the conference to, among other things, inquire of Movant

why he treated courthouse staff disrespectfully, including hanging up on a court employee, and

ignored their filing instructions. (See Mot. Withdraw, Dkt. 701, at 1–2) (“To this counsel’s surprise,

this Court wanted to question counsel on the reasons why counsel was rude to one of his clerks, or

court clerks . . . .”). Movant made an oral motion during that conference to withdraw as counsel for

his client, which the Court denied. (See id. at 2). Movant stated he would file a written motion

making the same request. (See id.). Two days later, on June 25, 2020, Movant filed his first motion to

withdraw. (Dkt. 698). Movant filed a supplement to his motion on June 29, 2020. (Dkt. 699).

        About a month later, Movant filed another motion to withdraw as counsel on August 14,

2020. (Dkt. 701). In that second motion to withdraw, Movant claimed that it was “abundantly clear
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that this Court ignored this counsel’s formal motion to withdraw.” (Id. at 2). Movant stated that he

was “moving this Court to issue a formal response stating its legal and factual grounds if the Court

will deny the motion” and “requested that this Court issue any order it wishes, as long as it

conforms to the above [Federal Rule of Appellate Procedure] 21 requirements.” (Id. at 3). Federal

Rule of Appellate Procedure lays out the rules governing writs of mandamus. Fed. R. App. P. 21.

Movant also attached a copy of Federal Rule of Appellate Procedure to his motion as an exhibit.

(Text of Mandamus Rule, Dkt. 701-1).

        A few days later, on August 18, 2020, the Court entered an order requiring Movant to

submit additional information, specifically documentation to substantiate his claim of time spent on

this case. (Order, Dkt. 702). The Court requested that Movant submit that information with a

declaration certifying its accuracy and completeness. (Id.). In response, Movant filed a motion for

leave to file his reply under seal, (Dkt. 703), because the reply, (Dkt. 704), contained privileged

communications.1

                                               II. ANALYSIS

         “An attorney may withdraw from representation only upon leave of the court and a

showing of good cause and reasonable notice to the client.” In re Wynn, 889 F.2d 644, 646 (5th Cir.

1989). “The withdrawing attorney bears the burden of proving the existence of good cause for

withdrawal.” Rabin v. McClain, No. SA-10-CV-981-XR, 2011 WL 3793939, at *1 (W.D. Tex. Aug. 25,

2011). “‘[I]n assessing whether counsel has good cause to resign, federal courts look to multiple

factors,’ paramount among those factors ‘are considerations of undue delay in the proceedings,

prejudice to the client, and the interests of justice.’” Id. (quoting Dorsey v. Portfolio Equities, Inc., No.


1The Court will grant Movant’s motion for leave to file his reply under seal finding that the public’s right to
access judicial records is outweighed by Hector Vasquez-Ramirez’s right to maintain the confidentiality of his
communications with his attorney.



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3:04-CV-0472-B, 2008 WL 4414526, at *2 (N.D. Tex. Sept. 29, 2008)). “The record must generally

reflect an appropriate basis for granting leave; unsubstantiated claims are insufficient.” F.T.C. v.

Itellipay, Inc., 828 F. Supp. 33, 33 (S.D. Tex. 1993). The decision of whether to permit withdrawal lies

within the sound discretion of the court. Wynn, 889 F.2d at 646.

        In the Western District of Texas, there are three additional requirements for a motion to

withdraw: (1) the attorney seeking to withdraw from a case must file a motion specifying the reasons

for withdrawal and providing the name and office address of the successor attorney; (2) if the

successor attorney is not known, the motion must set forth the client’s name, address, and telephone

number; and (3) the motion must bear either the client’s signature or a detailed explanation as to

why the client’s signature could not be obtained after due diligence. W.D. Tex. Loc. R. AT-3.

        In its discretion and despite Movant’s changing explanations of his work on behalf of his

client, the Court finds that Movant has shown good cause to withdraw as counsel from this case.

The Court also finds that Movant has satisfied the additional requirements of the Local Rules of the

United States District Court for the Western District of Texas. See W.D. Tex. Loc. R. AT-3. In doing

so, the Court makes these additional findings:

        1. Movant was disrespectful to employees of the Western District of Texas and ignored their
        filing instructions;

        2. Movant repeatedly used an inappropriate tone in his oral and written communications
        with the Court, including making a veiled threat of mandamus if the Court did not rule in
        Movant’s favor; and

        3. Movant shared sensitive and privileged and confidential communications with his client in
        a cavalier manner, failing to redact portions of those communications that were not relevant
        to his motions to withdraw as counsel. The Court cautions Movant that disclosing
        unredacted client communications to the Court and the government—even under seal—
        could be prejudicial to his client.




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       IT IS ORDERED that Movant’s motions to withdraw as counsel for Hector Vasquez-

Ramirez, (Dkt. 698, 701), are GRANTED.

       IT IS FURTHER ORDERED that Movant’s motion for leave to file under seal, (Dkt.

703), is GRANTED. The Court DIRECTS the Clerk of the Court to retain the motion, (Dkt. 704),

and its attachments under seal until further order by the Court.

       SIGNED on September 17, 2020.




                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE




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